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                            IN THE LINITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

LINITED STATES OF AMEzuCA

                                                              No.   q..Lo-c,L-ub3 -P
CIIARITY CANTU (01)

                    PLEA AGREEMENT WITH WAIVER OF APPEAI

        Defendant, Charity Cantu, the defendant's attorney, and the United States              of

America ("the government"), agree as follows:

        1.     Rights ofthe defendant: The defendant understands that she has the rights:

               a.           to plead not guilty;

               b.           to have a trial by jury;

               c            to have her guilt proven beyond a reasonable doubt;

               d            to confront and cross-examine witnesses and to call witnesses in her
                            defense; and

               e.           againstcompelledself-incrimination.

        2.     Waiver of rights and plea ol        guilty:      The defendant waives these rights and

pleads guilty to the offense alleged in count one ofthe information, charging a violation

of   18 U.S.C. $$ 1952(aX3) and         (A), Use of    a   Facility of Interstate Commerce In Aid of   a

Racketeering Enterprise. The defendant understands the nature and elements ofthe crime

to which she is pleading guilty, and agrees that the factual resume she has signed is true

and   will be submitted      as evidence.




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        3.      Sentence: The maximum penalties the Court can impose include:

                a.        imprisonment for   a   period not to exceed five years;

                b         a fine not to exceed $250,000, or twice any pecuniary gain to the
                          defendant or loss to the victim(s);

                c         a term of supervised release of not more than 3 years, which is
                          mandatory under the law and will follow any term of imprisonment.
                          If the defendant violates the conditions of supervised release, the
                          defendant could be imprisoned for the entire term of supervised
                          release;


                d.        a   mandatory special assessment of$100;

                e         restitution to victims or to the community, which may be mandatory
                          under the law, and which the defendant agrees may include
                          restitution arising from all relevant conduct, not limited to that
                          arising from the offense ofconviction alone;

               f.         costs of incarceration and supervision; and


               C.         forfeitureofproperty

       4.      Court's sentencing discretion and role ofthe Guidelines: The defendant

understands that the sentence in this case       will be imposed by the Court after consideration

ofthe United States Sentencing Guidelines. The guidelines           are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with her attorney, but

understands no one can predict with certainty the outcome ofthe Court's consideration           of

the guidelines in this case. The defendant understands that she will not be allowed to

withdraw her plea if the applicable advisory guideline range is higher than expected, or        if
the Court departs from the applicable advisory guideline range.
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The defendant fully understands that the actual sentence imposed (so long as it is within

the statutory maximum) is solely in the discretion of the Court.

         5.     Mandatory special assessment: The defendant agrees to pay to the U.S.

District Clerk the amount of $100, in satisfaction of the mandatory special assessment in

this case.

         6.     Defendant's agreement: The defendant shall give complete and truthful

information and/or testimony concerning her participation in the offense of conviction.

Upon demand, the defendant shall submit a personal financial statement under oath and

submit to interviews by the govemment and the U.S. Probation Office regarding her

capacity to satisfy any fines or restitution. The defendant expressly authorizes the United

States   Attomey's Office to immediately obtain      a credit report on her   in order to evaluate

the defendant's ability to satisfy any financial obligation imposed by the Court. The

defendant fully understands that any financial obligation imposed by the court, including

a   restitution order and/or the implementation of a fine, is due and payable immediately. In

the event the Court imposes a schedule for payment ofrestitution, the defendant agrees

that such a schedule represents a minimum payment obligation and does not preclude the

U.S. Attomey's Office from pursuing any other means by which to satisfy defendant's

full and immediately enlorceable financial obligation. The defendant understands that she

has a continuing obligation to pay in   full   as soon as possible any   financial obligation

imposed by the court.




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       7   .      Defendant's   testimony:     The Defendant is not obligated by this

agreement to testify in any criminal proceeding related to this case, nor is she required to

provide testimony conceming any other criminal offenses about which she has

knowledge. Ifshe chooses to do so, however, her testimony must be complete and

truthful.      Incomplete or dishonest testimony will be a breach ofthis agreement.

       8.         Govemment's agreement: The govemment will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty.

       9.         Violation ofagreement: The defendant understands that if she violates

any provision of this agreement, or      ifher guilty plea is vacated or withdrawn, the

government will be free from any obligations ofthe agreement and free to prosecute the

defendant for all offenses of which it has knowledge. In such event, the defendant waives

any objections based upon delay in prosecution. If the plea is vacated or withdrawn for

any reason other than a finding that it was involuntary, the defendant also waives

objection to the use against her ofany information or statements she has provided to the

goverrrment, and any resulting leads.

        10.       Voluntary   plea:   This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court      will impose.



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         I   1   .   Waiver of right to appeal or otherwise challenge sentence: The defendant

waives the defendant's rights, conferred by 28 U.S.C. $ 1291 and 18 U.S.C. $ 3742, to

appeal the conviction, sentence, fine and order of restitution or forfeiture in an amount to

be determined by the district       court. The defendant further waives the defendant's right

to contest the conviction, sentence, fine and order of restitution or forfeiture in any

collateral proceeding, including proceedings under 28 U.S.C.        S   2241 and 28 U.S.C.   $


2255. The defendant, however, reserves the rights (a) to bring a direct appeal of (i)        a

sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at

sentencing, (b) to challenge the voluntariness ofthe defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance ofcounsel.

        12.          Representation of counsel: The defendant has thoroughly reviewed all legal

and factual aspects of this case with her lawyer and is fully satisfied with that lawyer's

legal representation. The delendant has received lrom her lawyer explanations

satisfactory to her conceming each paragraph of this plea agreement, each ofher rights

affected by this agreement, and the alternatives available to her other than entering into

this agreement. Because she concedes that she is guilty, and after conferring with her

lawyer, the defendant has concluded that it is in her best interest to enter into this plea

agreement and all its terms, rather than to proceed to trial in this case.




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        13.    Limitation of Agreement: This agreement is limited to the United States

Attomey's Office for the Northern District of Texas and does not bind any other federal,

state, or local prosecuting authorities, nor does it prohibit any civil or administrative

proceeding against the defendant or any property.

        14.    Entirety of agreement: This document is a complete statement of the

parties' agreement and may not be modified unless the modification is in writing and

signed by all parties.




        AGREED TO AND sTGNED            this '2     I       day    or   fl(rucr   q   ,2020.



                                            ERINNEALY COX
                                            TINITED STATES ATTORNEY




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                                            DOUGLAS . ALLEN
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Defendant                                   Assistant United States Attomey
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BROOK ANTONIO                               ALEX C. LEWIS
Attorney for Defendant                      Deputy Criminal Chief




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       I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part ofthem with my attorney. I fully understand it and voluntarily agree to the
term set forth therein.

     tp                   L-                       2'J\ - Zozo
                                                Date
Defendant

      I am the defendant's counsel. I have carelully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client's decision to
enter into this Plea Agreement is an informed and voluntary one.


                                                   .2',Zl -        2z>Zo
BROOK            o                              Date
Attomey for Defendant




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